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Attorneys for Plaintiff
Melinda Michelle Douglas
                              UNITED STATES DISTRICT COURT

                       DISTRICT OF OREGON – PORTLAND DIVISION


                                                     CASE NO. 3:20-cv-00460-JR
Melinda Michelle Douglas,

                       Plaintiff,
                                                     NOTICE OF INTENT TO SETTLE
                                                     BETWEEN PLAINTIFF AND KOHL’S INC.
       v.

Capital One Bank (USA), National Association;
Kohl’s Inc.; and DOES 1 through 100 inclusive,

                       Defendants.

TO THE COURT, CLERK OF COURT, AND ALL PARTIES:

       PLEASE TAKE NOTICE THAT Plaintiff Melinda Michelle Douglas and defendant
Kohl’s Inc. (collectively, the “Parties”), have reached a settlement in principle of the above
captioned case and are in the process of documenting said settlement. Plaintiff anticipates
filing a dismissal of Kohl’s Inc. within 60 days once the settlement is finalized.

                                                      SCHUMACHER LANE PLLC



Dated: July 16, 2021                           By:    /s/ Kyle W. Schumacher _____
                                                      Kyle W. Schumacher
                                                      Attorney for Debtors/Plaintiff




                                    NOTICE OF INTENT TO SETTLE -1-
